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    POM WONDERFUL LLC
  8
                   UNITED STATES DISTRICT COURT
  9
          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11
    POM WONDERFUL LLC, a Delaware                Case No. CV13-06917-MMM CWx
 12 limited liability company,
                                                 DECLARATION OF FERNANDO
 13                  Plaintiff,                  TORRES IN SUPPORT OF
                                                 PLAINTIFF’S FURTHER
 14            vs.                               BRIEFING AND EVIDENCE IN
                                                 SUPPORT OF MOTION FOR
 15 ROBERT G. HUBBARD d/b/a PUR                  PRELIMINARY INJUNCTION
    BEVERAGES, PORTLAND
 16 BOTTLING COMPANY an Oregonian                [Hon. Margaret M. Morrow]
    company, and DOES 1 through 10,
 17 inclusive,
 18                  Defendants.
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
      {2449700.1}
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  1                       DECLARATION OF FERNANDO TORRES
  2            I, FERNANDO TORRES, declare as follows:
  3            1.   I have been retained as an expert by attorneys for Plaintiff
  4 POMWonderful, LLC (“POM”) to consult concerning the issue of irreparable harm
  5 presented in the above case. Specifically, I have been tasked with analyzing the harm
                             1
  6 to Plaintiff’s POM® brand from Defendant Beverages LLC (“PŪR” or
  7 “Defendants”) continued and unauthorized use of “PŎM” in connection with its
  8 energy drink called “PŪR PŎM”.
  9            2.   I am a professional economist and have over 30 years’ experience in
 10 applied and theoretical economics. In the course of this experience, I have been a
 11 consultant, a professor, and a business manager. Both my undergraduate and post-
 12 graduate degrees are in economics, the latter with a concentration in econometrics.
 13 Since 2004, I have specialized in the analysis and valuation of intellectual property
 14 and intangible assets. I am a member and Chief Economist at IPmetrics LLC, an
 15 intellectual property consulting firm. Attached hereto as Exhibit A is a copy of my
 16 most current curriculum vitae setting forth in detail my qualifications and experience.
 17            3.   Additionally, I have served as a consultant on numerous projects
 18 involving the determination of the value of intellectual property, including
 19 trademarks. I have trial and deposition experience as an expert witness representing
 20 both plaintiffs and defendants. I have experience in complex commercial litigation
 21 cases nationally. I currently consult with and have consulted with clients in
 22 California, New York, Texas, Colorado, Iowa, and Florida.
 23            4.   In connection with my work in this case, I have read, reviewed, and
 24 analyzed the following documents filed in connection with this case:
 25
 26   1
     The POM® Brand trademarks include, but are not limited to: POM (Reg. No.
 27 2637053); POM and Design (Reg. No. 3047447); and twenty others. See: Complaint
    (9/19/2013) at §13-15.
 28
      {2449700.1}
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  1
                    a.     Complaint for Federal Trademark Infringement, filed September
  2
      19, 2013 (the “Complaint”).
  3
                    b.     Order denying Plaintiff’s Motion for Preliminary Injunction,
  4
      filed January 17, 2014 (the “District Order”).
  5
                    c.     Opinion, US Court of Appeals for the Ninth Circuit, filed
  6
      December 30, 2014 (the “Appeal Opinion”).
  7
                    d.     Marketing materials for POM’s products.
  8
                    e.     Marketing materials for PŪR’s products.
  9
               5.   Furthermore, in the course of my work in this case, I have reviewed
 10
      additional documentation from case law and relied upon other authoritative
 11
      references, as identified in the footnotes to this declaration. All of these are types of
 12
      materials experts in my field typically rely on when completing assignments such as
 13
      mine in this case.
 14
               6.   After reviewing and analyzing the material available to me, and after
 15
      conducting further research surrounding the relevant issues, I have come to the
 16
      findings and conclusions that are addressed in the following paragraphs including,
 17
      beginning with general considerations and proceeding to examine specific issues of
 18
      the case at hand.
 19
               7.   As defined in law, trademarks are words (and/or symbols or devices)
 20
      used by businesses to identify and distinguish their goods from those manufactured
 21
      or sold by others, and to indicate the source of the goods.2 In the market economy,
 22
      trademarks have a specific role: to identify and differentiate a seller’s goods from
 23
      goods made or sold by others. This role is important for a variety of reasons. First,
 24
      because there tend to be multiple alternatives and close substitute products in most
 25
 26
 27
      2
          See: 15 USC § 1127.
 28
      {2449700.1}
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  1 markets, but acquiring the necessary and accurate information to judge a product’s
  2 qualities and fitness to satisfy the consumer’s need is often a very costly and time
  3 consuming exercise;3 and second, to provide an efficient means for the consuming
  4 public to quickly recognize that a product they are considering purchasing is made
  5 by the same producer as other similarly marked items that, in the past, produced
  6 products with attributes (positive or negative) that are important to the consumer.4
  7 These roles are threatened when there is a likelihood of confusion with other marks;
  8 trademarks cease to serve their purpose and consumers are forced to incur additional
  9 time and resources to differentiate products and, depending on the specific product
 10 category, may be led to sub-optimal choices.5 Through these and other indirect
 11 increased information search costs, the total cost of goods to the consumer rise with
 12 the likelihood of confusion. There are increased costs for the economy as a whole if
 13 trademarks cease to perform this source-identifying role.
 14         8.    Businesses, in addition to their necessary operational costs, spend
 15 substantial resources to build and extend the reputation of their brands, including
 16 expenditures related to product quality and advertising. Once its reputation is
 17 established, the business can generate greater sales because of that reputation,
 18 through repeat purchases and word-of-mouth references. The business can also
 19
      3
 20   This fact gives rise to the need for government regulations in some safety-critical
    markets, like the FDA in pharmaceuticals and food, industry standards bodies (ISO)
 21 and, generally, to certification trademarks in other areas (Such as the prototypical
 22 “Good Housekeeping Seal of Approval” Reg. No. 77,638,213) which are not source
    indicators in the conventional sense (http://ipmetrics.net/blog/2011/02/14/no-
 23 trademarks-were-harmed/).
 24 4 See, inter alia, J. McCarthy, McCarthy on Trademarks and Unfair Competition §
 25 2.01[2], p. 2-3 (3d ed. 1994).
    5
 26 See, inter alia, William M. Landes & Richard A. Posner, Trademark Law: An
    Economic Perspective, Journal of Law and Economics, Vol. 30, No. 2 (Oct., 1987),
 27 pp. 265-309.
 28 {2449700.1}                             2
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  1 realize higher profits because quality goods can support higher profit margins.6 The
  2 business is also able to market its products more efficiently and effectively, based on
  3 consumer recognition of the brand and its associated reputation. By contrast, the
  4 cost of duplicating a successful and reputable brand is remarkably small, particularly
  5 in this day and age when online advertising is considered, in contrast with television
  6 or print. Unless prevented by law, “free riding” infringers will not just capture some
  7 of the profits associated with a strong trademark; more significantly, trademark
  8 infringement will eventually destroy the value of the reputational investment
  9 embodied in a trademark.7 Finally, a brand’s investment in reputation is a “public
 10 good”, in the strict economic sense that consumption of it by one individual does not
 11 reduce its availability to others.8 The investment in this type of good tends to be
 12 made and economically justified only if there are suitable means to protect the
 13 uniqueness of the brand and the proper attribution of the reputation.9 Thus, without
 14 adequate protection, investments in reputation would not be made, and consumers
 15 would be left to shoulder higher costs of discerning the underlying qualities and
 16 attributes of products, or be subject to making purchases of goods that turn out not
 17 to have the intended characteristics.
 18               9.   This case presents a situation where a valuable brand is being infringed
 19 due to a new market participant who is using the POM trademark without
 20
 21
      6
          Landes and Posner (1987), p 270.
 22
      7
          Ibid.
 23   8
      “Goods that are not excludable and are nonrival are called Public Goods” (Hal R.
 24 Varian, Microeconomic Analysis, 3rd Edition, 1992, WW Norton & Co., p 414).
 25 9 In the economic literature, this is known as the “public goods problem”, often
 26 illustrated with the reflection that the only way to provide a sufficient level of
    defense is to have the government do it and fund it with taxes. Not all “public
 27 goods”, however, are public services in this colloquial sense.
 28 {2449700.1}                                   3
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  1 authorization.10 From an economic perspective, the value of the POM trademarks is
  2 substantial, (although it is beyond the purpose of this report to quantify the
  3 amount.) The type of data used in valuing trademarks commonly includes annual
  4 sales trends and advertising expenditures; the former reflects a monetary reflection
  5 of a brand’s appeal with the target market, the latter helps to measure the build-up of
  6 consumer impressions and potential goodwill. Therefore, the POM trademarks are
  7 valuable because POM has invested, since 2001, significant resources in advertising
  8 the portfolio of products that are offered under the POM umbrella brand.11 These
  9 resources include at least $24 million in 2011 and 2012,12 including substantial
 10 event sponsorships and television advertising, which have supported annual sales of
 11 at least $60 million at retail.13
 12            10.   The advertising undertaken, moreover, has consistently focused on
 13 unique characteristics of the products sold that resonate with the target market, such
 14 as:
 15                  a.   The nutritional qualities of the pomegranate fruit and pomegranate
 16                       juice,14 which are non-observable attributes and, thus, contribute
 17                       information to consumers; and,
 18                  b.   The quality assurance and convenience factors of the various
 19                       product lines derived from the fruit.
 20 Moreover, by sustaining a thorough quality control effort throughout the integrated
 21
 22   10
           See: Complaint (9/19/2013) at §30 et seq., and Appeal Opinion, p 4.
      11
 23    See: POM website (pomwonderful.com/pomegranate-products/) and Exhibit A to
 24 the Complaint.
    12
       Appeal Opinion, p 5.
 25 13
       Ibid, p4.
 26 14
       Specifically the fact that pomegranates are a source of nutrients such as vitamin
 27 K, potassium, and polyphenol antioxidants.
 28 {2449700.1}                                 4
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  1 production process, the POM brand has quality control over the entire production
  2 process from cultivation of pomegranates through distribution of the finished
  3 product.15 Additionally, this vertically integrated company also invests substantially
  4 in product development and technologies to improve the characteristics of the
  5 various products, for both retail and industrial uses.16
  6            11.   Since 2001, therefore, the POM trademarks have successfully created a
  7 valuable brand and differentiated its products from the generic, branded, and un-
  8 branded alternatives, i.e. fruit from other growers or juice from other sources, with a
  9 strong national presence among both retailers and end-consumers. I understand that,
 10 from a legal analysis perspective, the POM trademarks are demonstrably strong in
 11 this sense.17
 12            12.   From an economic perspective, a strong indication of the
 13 distinctiveness of the POM trademarks in the market, particularly in the juice
 14 category, is that other pomegranate juice makers do not refer to their products or the
 15 key ingredient as “pom” rather than “pomegranate.” For example, major
 16 supermarket chains Whole Foods Market®18 and Trader Joe’s®19 sell private label
 17 pomegranate juice as “100% Pomegranate Juice” and “Pomegranate Juice”
 18 respectively. Branded pomegranate juice offerings from other companies (available
 19 at other retailers such as Wal-Mart and Amazon.com) are labeled “Pure
 20
 21   15
       Synthetized in the slogan “From Tree to You.” POMWonderful’s industrial site
 22 for information on the integrated process and quality control
 23 (www.pomindustrial.com/).
    16
 24    For example, with a perishable product like pomegranates, research on storage
    conditions to extend shelf life is important.
 25 17
       Appeal Opinion, p 14.
 26 18 Whole Foods Market, Inc. (www.wholefoodsmarket.com/).
 27   19
           Trader Joe’s (www.traderjoes.com/).
 28   {2449700.1}                                5
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  1 Pomegranate” (Lakewood20), “Just Pomegranate™” (R.W. Knudsen21), “All
  2 Pomegranate” (L&A Juice22), among others.
  3            13.   Therefore, there is no relevant industry precedent of the use of “pom”
  4 as a generic descriptor, abbreviation, or symbol for pomegranate juice. Rather, until
  5 the alleged infringing acts, the market presence of the term “pom” has only been as
  6 part of Plaintiff’s POM trademarks. In this regard, allowing a third party to make a
  7 confusing use of “pom” under the guise of a generic abbreviation for the ingredient
  8 pomegranate would help push the valuable POM trademarks towards generic use.
  9 With time, such unauthorized third-party use of a trademark expropriates the value
 10 built over more than a decade. Once a mark is allowed to become a generic
 11 descriptor, the value of the mark is lost permanently as its distinctive element has
 12 been lost. Such has been the case for former trademarks such as aspirin,23
 13 cellophane,24 escalator,25 and thermos,26 to name a few. Ultimately, once mark
 14 becomes a generic descriptor, it cannot be registered as a trademark at all.
 15 Consequently, so-called “genericide” is clearly not a process that can be repaired.
 16            14.   The infringement alleged in the Complaint is the use of the POM
 17 trademarks to introduce a new drink offering from PŪR, a newly established
 18 supplier in the beverage market.27 The Defendant’s positioning statement in its
 19
      20
 20        Florida Family Trust (www.lakewoodjuices.com/product_detail/id-37/).
      21
 21     Knudsen & Sons, Inc. (www.rwknudsenfamily.com/products/just-juice/just-
      pomegranate).
 22   22
           Langers Juice Co., Inc. (www.langers.com/Products/Juices/allPome.htm).
 23   23
           Originally a Bayer trademark.
 24   24
           Originally a DuPont trademark.
 25   25
           Originally an Otis Elevator Co. trademark.
 26   26
           Originally a Thermos GmbH trademark.
 27   27
           Complaint at §31, et seq.
 28   {2449700.1}                                6
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  1 marketing materials offers an alternative energy drink that it claims is somehow
  2 more “natural” and “pure.”28
  3            15.   The harm due to the likely consumer confusion from the infringing use
  4 of the “POM” trademark as alleged in this case is compounded by the characteristics
  5 of the product. The accused “PUR POM” product is not a pure pomegranate
  6 beverage: the product has added supplements, such as ginseng and B-vitamins, and
  7 has sugar added.29 The product’s nutritional facts indicate relatively high sodium
  8 content30 and no potassium content. Genuine pomegranate juice, like POM
  9 Wonderful’s, on the other hand, contains insignificant amounts of sodium and is
 10 known to be a source of potassium.31 Scientific research on the properties of
 11 pomegranate juice concludes that “it may be prudent to include this fruit juice in a
 12 heart-healthy diet”,32 but added sugar and sodium in the PUR POM product raises
 13 the concern that too much sodium in the diet may lead to high blood pressure in
 14
      28
 15     See, inter alia, PUR POM product page at (www.purbeverages.com/drink-
      pur/pom-pomegranate-beverage), which states “This delicious Pomegranate
 16   beverage will give you a boost of natural energy without the chemicals you will find
 17   in other energy drinks.” and the “About Us” page, which states the company’s
      philosophy in terms of offering “…beverages, that are healthy, low in calories, low
 18   in sugars, and filled with Natural Ingredients to satisfy even the most health
 19   conscious consumers, without sacrificing great taste.” (www.purbeverages.com/live-
      pur/about-pur-beverages).
 20   29
      PUR POM product page (www.purbeverages.com/drink-pur/pom-pomegranate-
 21 beverage).
      30
 22        120 mg preserving, equivalent to 5% of the daily value.
      31
 23    The USDA lists the Potassium content of 100 grams of pomegranate seeds at 5%
    of the daily values, and 0% for sodium
 24 (http://ndb.nal.usda.gov/ndb/foods/show/2404?fgcd=&manu=&lfacet=&format=Ful
 25 l&count=&max=35&offset=&sort=&qlookup=09286).
    32
 26    Basu A, Penugonda K., Pomegranate juice: a heart-healthy fruit juice, in:
    Nutrition Reviews, 2009 Jan; 67(1):49-56.
 27 (http://www.ncbi.nlm.nih.gov/pubmed/19146506#).
 28 {2449700.1}                               7
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   1 some people.33 While the nutritional analysis of the products is not the purpose of
   2 this report, the nature of these differences is an objective cause for anticipating
   3 negative brand impression risk and loss of control over the POM brand, given the
   4 likelihood of confusion34 brought about by the PUR POM product in the beverage
   5 market. It is to be expected that some consumers, confused to believe the PUR
   6 POM product comes from the same source as the well-known POM products, may
   7 notice the nutritional differences and attach a negative connotation to the artificially-
   8 sweetened, supplemented drink, compounded with the connotations of the sodium
   9 content. Negative word-of-mouth publicity from those consumers is likely, in this
  10 social media/instant communications market context, to lead to disparaging
  11 customer reviews and opinions that would tarnish the reputation of the POM
  12 trademarks across all product lines. Therefore, the root source of these negative
  13 effects on the functionality and value of the POM trademarks goes beyond the fact
  14 that the PUR POM product is positioned to compete against energy drinks, a
  15 segment of the beverage market already beset with negative attributes and health
  16 concerns.35 These nutritional differences between the Plaintiff’s pomegranate juice
  17
       33
  18     “Sodium in Diet” US National Library of Medicine (NIH)
       (http://www.nlm.nih.gov/medlineplus/ency/article/002415.htm).
  19   34
        I understand the Court of Appeals has found that “it is clear that Pom Wonderful
  20 is likely to show that consumers are likely to be confused as to the source of Pur’s
  21 “pŏm” beverage. Pur’s beverage not only bears a mark that is visually, aurally, and
     semantically similar to Pom Wonderful’s commercially strong “POM” mark—
  22 which Pom Wonderful has used exclusively since 2002—but also is designed for the
  23 same use and sold to the same general class of consumers as Pom Wonderful’s juice
     beverages at a price point where consumer discernment is weak.” Appeal Opinion, p
  24 24.
  25 35 See, e.g., Ali F, Rehman H, Babayan Z, Stapleton D, Joshi DD, Energy drinks and
  26 their adverse health effects: a systematic review of the current evidence, in:
     Postgraduate Medicine, 2015 January 6:1-15 [Epub ahead of print] available at
  27 National Library of Medicine (NIH) (www.ncbi.nlm.nih.gov/pubmed/25560302).
  28 {2449700.1}                                 8
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   1 and the Defendants’ product are an objective basis for a likely risk to the POM
   2 trademarks if the continued infringing use were to be allowed.
   3          16.   The impact of likelihood of confusion between PUR POM and the
   4 POM trademarks results in harm beyond direct quantifiable “Lost Sales” and the
   5 consequent “Lost Profits.”. It would result in a loss of distinctiveness. Based on my
   6 research of the beverage industry, I am not aware of any other beverage utilizing
   7 “POM” as its brand name. Consumer association of the POM brand with the use of
   8 the term “pom” by PUR POM, as discussed above, would permanently damage the
   9 POM trademark’s ability to function as a trademark, and deprive POM of a business
  10 asset of considerable value. The infringing use is based on the misappropriation of
  11 the POM trademark and disregard of its incontestable status for the use of the
  12 protected term as a descriptor for a beverage. Once this use is allowed, it cannot be
  13 taken back even with corrective advertising, because such use would inevitably,
  14 result in a loss of POM’s distinctiveness. The substantial value accrued to the POM
  15 trademarks, therefore, would be diluted as this and additional uses follow in the
  16 future. POM would be forced to develop a supplementary or additional umbrella
  17 brand for its various product lines to remain uniquely identified as the source of the
  18 products, however, the impact on trademark value would not ever be recoverable.
  19          17.   To illustrate, consider that trademark value is defined as the net present
  20 value of future sales attributable to the trademark, typically measured by a royalty
  21 rate proxy.36 Annual royalty grows at an average rate pre-infringement and the
  22 infringement period lasts, for argument’s sake, two-years with a concomitant 10%
  23
       36
  24    See “Relief from Royalty” method in, inter alia, Robert F. Reilly and Robert P.
     Schweihs, Valuing Intangible Assets, McGraw-Hill (1998); Gordon Smith and
  25 Russell Parr, Intellectual Property: Valuation, Exploitation, and Infringement
  26 Damages, 2005, John Wiley and Sons, Inc., New York.; Gregory Leonard, et al.,
     Economic Approaches to Intellectual Property, National Economic Research
  27 Associates, Inc., 2005.
  28 {2449700.1}                                 9
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   1 reduction in sales. Figure 1 shows the progress of annual trademark royalty
   2 amounts for 10 years before and after the infringement.37
   3    160
                                                    Figure 1
   4
                                             Trademark Royalty Value
   5    140
                                          With and Without Infringement
   6
   7    120

   8
        100
   9
  10
            80
  11
  12        60
  13
  14        40

  15
            20
  16
  17
             0
  18                        Pre-Infringement               Infringement   Post-Infringement

  19             1     2   3    4     5    6   7   8   9   10 11 12 13 14 15 16 17 18 19 20 21 22
                                                               Years
  20
  21
                 18.       As the figure shows:
  22
                           a.       up to the time of infringement, there is no difference in the annual
  23
                                    values;
  24
  25
  26   37
        Technically, trademark value is the area illustrated in the figure since it is the sum
  27 of the annual royalty amounts attributable to the brand.
  28 {2449700.1}                                10
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   1                  b.   during the infringement period, trademark value (red area)
   2                       declines and is taken up by the infringer (blue triangle area); and,
   3                  c.   after the infringement period, trademark value (red area) continues
   4                       to accrue to the plaintiff at the market’s growth rate, while the loss
   5                       in value (blue area) remains proportionately the same in
   6                       perpetuity.
   7            19.   In this illustration, the blue triangle during the infringement period
   8 measures the decline in trademark value during the infringement which can be
   9 compensated with a recovery of damages. The obvious gap that continues in the
  10 annual contributions to trademark value during the post-infringement period remains
  11 in perpetuity unless some external factor allows for a suitable increase in the rate of
  12 growth of sales after the infringement.
  13            20.   When the intellectual property under consideration implies a legal
  14 monopoly on the underlying market, as is the case in patents and copyrights, the
  15 customers lost during the infringement period can be recovered in so far as the
  16 prevailing plaintiff would remain the sole source of the technology or work after the
  17 infringement period. The situation in trademarks is different, as the customers lost
  18 would not necessarily return to purchase from the prevailing plaintiff as there may
  19 well be other sources of goods in the same market (as is the case here) and as long
  20 as any negative associations of the previously preferred brand dissipate and
  21 somehow become positive associations for the brand. This increase in the pace of
  22 sales and, thus, trademark royalty contributions to value does not come without a
  23 concomitant cost in increased advertising and marketing efforts.
  24            21.   In economic terms, the lost profits during the infringement period are a
  25 transfer of value (or wealth) from the trademark owner in favor of the infringer,
  26 which can be redressed with monetary damages. However the permanent reduction
  27 in value of the trademark is a destruction of the plaintiff’s asset value (or wealth)
  28   {2449700.1}                               11
            DECLARATION OF FERNANDO TORRES IN SUPPORT OF PLAINTIFF’S FURTHER BRIEFING AND
                     EVIDENCE IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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   1 which would have to be rebuilt anew – a cost which is unquantifiable.38 This is an
   2 economic rationale as to why permanent injunctions in trademark cases are
   3 necessary; otherwise, potential infringers       may begin to rely on infringing
   4 established marks as a way to enter new markets, adjusting for the risk of being sued
   5 and losing.
   6            22.   Another economic consideration, as far as the balance of the equities
   7 and the public interest is concerned, includes the contrast between the value of the
   8 Plaintiff’s brand and the limited scope of the alleged infringer’s economic activity.
   9 Although, at this point, I have not been able to examine detailed financial records
  10 for the sales of the products at issue, from the record it is quite clear that the brand
  11 equity at risk on the side of the POM trademarks is orders of magnitude larger than
  12 the profits which the defendants can make from the accused product line during the
  13 likely duration of this case. Not only are the sales of POM juice in the order of $60
  14 million per year, but the POM trademarks are strong marks utilized in several
  15 product marks from fruit to concentrated derivatives. By contrast, defendant’s use is
  16 limited to the new PUR POM product.39
  17            23.   In conclusion it is my professional opinion that Defendant’s continued
  18 use of the POM trademark will cause POM irreparable harm which cannot be
  19 properly redressed by an eventual infringement damages award.
  20            24.   I declare under the penalty of perjury and under the laws of the State of
  21 California that the forgoing is true and correct and based upon my personal
  22
  23
  24   38
        An analysis of similar issues in the context of patent law is examined, for
  25 instance, in: J. Gregory Sidak, Is Harm Ever Irreparable? 2011 Inaugural Address,
     Coase Professor of Law and Economics, Tilburg University
  26 (www.criterioneconomics.com).
  27 39 This product line could be re-labeled PUR Pomegranate to mitigate lost profits.
  28   {2449700.1}                               12
            DECLARATION OF FERNANDO TORRES IN SUPPORT OF PLAINTIFF’S FURTHER BRIEFING AND
                     EVIDENCE IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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   1 knowledge and/or professional opinions, and that if called upon to testify, I could
   2 verify the accuracy of the same.
   3            25.   This document was executed in the city of San Diego, California on
   4 July 7, 2015.
   5
   6
   7
   8                                              FERNANDO TORRES, MSc
                                                  Chief Economist
   9                                              IPmetrics LLC
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  28   {2449700.1}                               13
            DECLARATION OF FERNANDO TORRES IN SUPPORT OF PLAINTIFF’S FURTHER BRIEFING AND
                     EVIDENCE IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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                           ExhibitA
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 FERNANDO TORRES, MSc
 CHIEF ECONOMIST


                         Fernando Torres is an intellectual property economist with nearly 30
                         years of work experience in economics, financial analysis, and
                         business management in the U.S. and Mexico. He is a member and
                         Chief Economist at IPmetrics LLC, an IP consulting firm specializing in
                         the strategic analysis, valuation, and expert witness assessment of the
                         full spectrum of intangible assets.

                         Since 2004, Mr. Torres has applied his economics, finance and
                         business experience, as well as skills in quantitative techniques, to the
 analysis and valuation of intangible assets, including valuation for transactional and litigation
 purposes (bankruptcy and infringement cases). Prior to joining IPmetrics, Mr. Torres served as
 Senior Economist at CONSOR® Intellectual Asset Management.

 During recent years, Mr. Torres has undertaken projects involving the valuation and/or the
 assessment of infringement damages regarding copyrights, trademarks, patents, trade secrets,
 rights of publicity, and other intellectual assets in such industries as commercial agriculture,
 auto parts, apparel and footwear, retail, pharmaceuticals, entertainment, telecommunications,
 and non-profit organizations, among others.

 Mr. Torres regularly presents on topics related to intangible asset valuation in a variety of
 venues, many of which qualify for CLE credit. During the past few years, Mr. Torres has been
 an instructor for the course “Valuing Intangible Assets for Litigation,” which is part of the
 requirements of the Certified Forensic Financial Analyst designation issued by the National
 Association of Certified Valuation Analysts (NACVA).

 Mr. Torres has been active in the area of the copyright and rights of publicity infringement
 issues, encompassing from the unlicensed use of celebrity images to a class action lawsuit
 against the major social networking site.

  Mr. Torres is also the editor and author of the online “Patent Value Guide” and his perspectives
 on the value of patents and other intellectual property assets have been cited in the media,
 including Managing Intellectual Property, The New York Times, Forbes.com, Business News
 Network, Business Valuation Resources, and The Democrat & Chronicle.

 Mr. Torres is a member of the National Association of Forensic Economics, and of the Western
 Economics Association International, among others. His career has spanned from academia, to
 branches of government, to private industry and consulting.

 He first earned a B.A. in Economics from the Metropolitan University in Mexico City (1980), and
 went on to earn a Graduate Diploma in Economics from the University of East Anglia (U. K.,
 1981), and a Master of Science Degree specializing in Econometrics from the University of
 London, England (1982).




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 Prior to specializing in IP, his career centered on financial analysis and management in the
 private sector, having been both a brand development consultant and an entrepreneur in
 several business ventures, mainly in computer services and the health care industry. During the
 1980s, Mr. Torres was Professor of Economics at the Metropolitan University in Mexico City,
 teaching Economic Policy, Economic Growth, Microeconomics, and Quantitative Methods. Mr.
 Torres was later a financial consultant (NASD Series 7, 63, 65) for half a dozen years with AXA
 Advisors LLC.


 PROFESSIONAL ASSOCIATIONS

    National Association of Forensic Economics
    Western Economics Association International
    American Economic Association
    International Trademark Association


 PUBLICATIONS

    “Why only some patents are valuable” in: IPmetrics Blog, (May 13, 2015).
    “General Principle I – Lack of Intrinsic Value” in: PatentValueGuide.com, (February
     11, 2013).
    “General Principle II – Patent Use is Key to Value” in: PatentValueGuide.com,
     (February 8, 2013).
    “Conceptual Patent Value Framework” in: PatentValueGuide.com, (January 31,
     2013).
    “The Impact of Reorganization on Trademark Values,” in: IP Management and
     Valuation Reporter, March 2012, BVR, Portland, OR.
    “Fundamental Principles of Patent Value,” in: IP Management and Valuation
     Reporter, January 2012, BVR, Portland, OR.
    “Key Factors of Infringement Damages Apportionment in the Java & Android Case”
     in: IPmetrics Blog, (December 8, 2011).
    Book Chapter: “Valuation, Monetization, and Disposition in Bankruptcy” in IP
     Operations and Implementation for the 21st Century Corporation, John Wiley and
     Sons, Inc. (November, 2011).
    “Have Patent Litigation Damages Awards Been Worth It?” in: IPmetrics Blog, (April
     29, 2011).
    “Celebrity Advertising and Endorsement” in: IPmetrics Blog, (March 2, 2011).
    “The Patent to Trademark Value Transition: Nespresso” IPmetrics Blog, (February 3,
     2011).


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    “The Liquidation Value of IP” in: IPmetrics Blog, (January 26, 2011).
    “An Econometric Model of Trademark Values” in: IPmetrics Blog, (January 25,
     2011).
    Chapter 15: “Copyrights” in Wiley Guide to Fair Value Under IFRS, John Wiley and
     Sons, Inc. (May, 2010).
    “The Road to Asia,” Feature Article (co-author) in: World Trademark Review, No. 23,
     February/March 2010, pp. 19-22.
    "Trademark Values in Corporate Restructuring" (July, 2007). Social Sciences
     Research Network: http://ssrn.com/abstract=1014741
    “Establishing Licensing Rates Through Options”       (September, 2006) Social
     Sciences Research Network: http://ssrn.com/abstract=1014743          and in:
     http://formulatorres.blogspot.com/2006_05_01_archive.html
    Book Chapter: “Ch. 9: Recent developments in Patent Valuation” in: Practicing Law
     Institute, Patent Law Institute 2007: the Impact of Recent Developments on Your
     Practice, PLI Course Handbook (March 19, 2007).
    “Establishing Licensing Rates through Options,” in: ipFrontline, September 12, 2006
     (http://www.ipfrontline.com/depts/article.asp?id=12586&deptid=3).


 SPEECHES AND PRESENTATIONS

    “What is a Brand Worth?” MCLE webinar (IP_3-10-15), The State Bar of California,
     Trademark Interest Group, March 2015.
    “Intellectual Property Valuation Techniques,” MCLE presentation for Pillsbury
     Winthrop Shaw Pittman, San Diego, CA, August 2014.
    “10 Common Mistakes in IP Valuation/Damages”, CLE presentation to Jeffer
     Mangels Butler & Mitchell LLP, Los Angeles, CA, July 2014.
    “Intellectual Property Valuation Techniques,” MCLE presentation, San Diego, CA,
     April 2013
    “Intellectual Property Valuation and Monetization,” a seminar for the Special
     American Business Internship Training (SABIT) Intellectual Property Rights program,
     U.S. Department of Commerce. March, 2013.
    “Valuing IP in the Context of Bankruptcy,” webinar for the Certified Patent Valuation
     Analyst curriculum, Business Development Academy. October, 2011.

    “Recent Developments in Intellectual Property Economic Damages,” Presentation at
     the Annual Conference of the National Association of Forensic Economics. June,
     2011.
    “Valuing the Intangible: Where to Start?” CLE presentation to Sheppard Mullin
     Richter & Hampton, LLP. December, 2009.

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    “Defending and Enforcing Your Technology.” Panelist at: Foley’s Emerging
     Technologies Conference: Navigating a New World – San Diego, CA (Foley &
     Lardner LLP); September 2009.
    ”Intellectual Property Valuation, Monetization and Disposition in Bankruptcy” – CLE
     presentation at the Spring Trademark Program of the NY Intellectual Property Law
     Association – New York, NY; June 2009.
    “Damages Valuation and Expert Witnesses” (co-presenter) – CLE presentations to:
                        Gibson, Dunn & Crutcher LLP – Irvine, CA (June, 2008)
                        Arent Fox, LLP — Washington, DC (April, 2008)
                        Finnegan, Henderson, Farabow, Garrett & Dunner, L.L.P.        –
                         Washington, DC (April, 2008)
    “Valuing Intangible Assets for Litigation” (Instructor) – National Association of
     Certified Valuation Analysts (NACVA) – Fort Lauderdale, FL; December 2007
    “Valuing Intangible Assets for Litigation” (Instructor) – National Association of
     Certified Valuation Analysts (NACVA) – Philadelphia, PA; October 2007
    “Trademark Values in Corporate Restructuring” – Western Economics Association
     International 82nd Annual Conference – Seattle, WA; July, 2007
    “Entrepreneurship and Innovation” (Session Chair) – Western Economics
     Association International 82nd Annual Conference – Seattle, WA; July, 2007
    “Alternative Focuses for ‘But For’ Scenario Specification in Commercial Litigation”
     (Discussant) – National Association of Forensic Economics, Western Conference –
     Seattle, WA; June, 2007
    “Patent Values in the Evolving I.P. Market” – Practicing Law Institute – Hot Topic
     Briefing Teleconference; May 2007 (CLE Presentation)
    “Key Issues in Intellectual Property Due Diligence” – Due Diligence Symposium
     2007 – ACG – Iselin, NJ; April 2007
    “Life Sciences IP Due Diligence” – American Conference Institute – San Francisco,
     CA; January 2007
    “Developments in Patent Valuation” – Practicing Law Institute – San Francisco, CA;
     January 2007 (CLE Presentation)
    “Collins & Aikman Europe and Other Cross-Border Asset Sales: A Tale of Two
     Venues” – American Bankruptcy Institute, Winter Leadership Meeting – Phoenix, AZ;
     December 2006
    “Valuing Intangible Assets for Litigation” (Instructor) – National Association of
     Certified Valuation Analysts (NACVA) – San Diego, CA; December 2006.




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 LITIGATION-RELATED EXPERIENCE
                                                                                                 (July 2005 to date)

     Date
                      Parties          Case No.      Court       Status    Nature       Hired by       Involvement
    Range
  July 2005      Lawrence Peter       05-cv-      Supreme      Settled    Rights of   Davidoff        Expert
                 Berra aka Yogi       02233       Court of the            Publicity   Malito &        report re:
                 Berra v. Turner                  State of New                        Hutcher         rights of
                 Broadcasting         05/600339   York, County                                        publicity
                 System, Inc.                     of New York                                         damages
  July 2005      Fleetwood            03 DV       US District   Settled   Trade-       Klenda,        Expert
  – Sept.        Enterprises,         2029        Court,                  mark         Mitchell,      report re:
  2005           Inc., and                        Sedgwick                             Austerman      licensing
                 Fleetwood                        County,                              &              customs and
                 Folding                          Kansas                               Zuercher,      practices.
                 Trailers, Inc., v.                                                    LLC.
                 The Coleman
                 Company, Inc.,
                 and Coleman
                 Holdings, Inc.
  July 2005      Jimmy Dean v.        5-04-0039   US District   Settled   Trade-       Vinson &       Expert
  – Oct.         Sara Lee                         Court,                  mark         Elkins, LLP    report re:
  2005           Corporation                      Northern                                            personal
                                                  District of             Contract                    brand
                                                  Texas,                                              valuation
                                                  Lubbock
                                                  Division
  June –         Cache La             .04-D-329   US District   Settled   Trade-       Dorsey and     Expert
  Aug. 2005      Poudre Feeds,        CBS         Court,                  mark         Whitney        rebuttal
                 Llc v. Land O’                   District of                          LLP            report re:
                 Lakes, Inc., et                  Colorado                                            reverse
                 al.                                                                                  confusion
                                                                                                      damages
  Aug. 2005      Precision            04-CV-      US District   Settled   Trade-      Shuttleworth    Expert
                 Replacement          566L        Court,                  mark        & Ingersoll     rebuttal
                 Parts Corp. v.                   Western                                             report re:
                 Auto Glass                       District of
                 Components,                      Washington                                          Alleged
                 Inc.                             at Seattle                                          trademark
                                                                                                      infringement
                                                                                                      damages
  Aug.– Oct.     Kevin Trudeau        04C-7165    US District   Settled   Trade-       Winston        Expert
  2005           et al. v. George                 Court,                  mark         and            report on
                 Lanoue, et al.                   Northern                             Strawn,        intellectual
                                                  District of             Domain       LLP            property
                                                  Illinois,               Names                       damages
                                                  Eastern
                                                  Division




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     Date
                      Parties       Case No.      Court          Status    Nature       Hired by      Involvement
    Range
  Sept.          Collins &          05-55927   US               Liqui-    Patent       Kirkland &     Valuation
  2005 –         Aikman                        Bankruptcy       dated     Value        Ellis, LLP     Report For
  Feb. 2006      Corporation, et               Court,                                                 The Debtor
                 al.                           Eastern                                                In
                                               District Of                                            Possession
                                               Michigan,                                              Regarding
                                               Southern                                               European
                                               Division                                               Patent Sale
  January –      Richard Bach       05-0970    US District      Settled   Trade-       Perkins        Expert
  April 2006     and Russell                   Court,                     mark         Coie, LLP      report re: to
                 Munson v.                     Western                                                valuation of
                 Forever Living                District of                Copyright                   damages for
                 Products U.S.,                Washington                                             the
                 et al.                        at Seattle                                             infringement
                                                                                                      of
                                                                                                      trademarks
                                                                                                      and
                                                                                                      copyrights
  April 2006     Digital Envoy      04-01497   U.S. District    Settled   Trade        Wilson         Expert
                 Inc. v. GOOGLE                Court of the               Secrets      Sonsini        consulting
                 Inc.                          Northern                                Goodrich &     re: breach of
                                               District of                             Rosati         non-
                                               California,                                            disclosure
                                               San Jose                                               agreement
                                               Division                                               and trade
                                                                                                      secret
                                                                                                      misappropri
                                                                                                      ation
  July –         El Comandante      04-10938   US               Ch.11     Trade-       Anderson,      Expert
  November       Management         ESL        Bankruptcy       Reorg.    mark         Kill & Olick   valuation &
  2006           Company,                      Court District   Con-                                  opinion
                 LLC., et al.                  of Puerto        firmed.   Intangible                  reports re:
                                                                          Asset Fair
                                               Rico                                                   Intellectual
                                                                          Value                       property and
                                                                                                      Liquidating
                                                                                                      trust value.
  2006-2008      Interstate         04-45814   US               Ch. 11    Trade-       Miller         Expert
                 Bakeries Corp.,               Bankruptcy       Reorg.    mark         Buckfire &     Trademark
                 et al.                        Court,           Con-                   Co.            Valuation
                                               Western          firmed                                Reports
                                               District Of
                                               Missouri,
                                               Kansas City
                                               Division
  October        MTS Inc. (dba      06-10886   US               Ch 11     Trade-       McGuire        Valuation Of
  2006           Tower                         Bankruptcy       Liqui-    mark         Woods,         The
                 Records), et al.              Court,           dated                  LLP            Trademark
                                                                          Contract
                                               District Of                                            and Other
                                               Delaware                                               Intangible
                                                                                                      Property.




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     Date
                      Parties         Case No.        Court         Status    Nature      Hired by     Involvement
    Range
  August -       Adjustment Of       2006-1        Copyright   Rates         Copyright   Wiley         Expert
  October        Rates And           CRB           Royalty     Set                       Rein,LLP      Rebuttal
  2007           Terms For           DSTRA         Board,                    Trade-      Weil,         Report Re:
                 Preexisting                       Library Of                mark        Gotshal &     Apportion-
                 Subscription                      Congress,                             Manges,       ment of
                 Services and                      Washington,                           LLP           Compensa-
                 Satellite Digital                 D.C.                                                tion For
                 Audio Radio                                                                           Brand,
                 Services. (XM                                                                         Endorse-
                 Radio, Sirius                                                                         ment And
                 Satellite)                                                                            Exclusivity
                                                                                                       Value
                                                                                                       Compo-
                                                                                                       nents.
  January        Louis Vuitton       04 - 2990     US District     Closed    Trade-      Arent Fox,    Expert
  2007 –         Malletier v.                      Court,                    mark        LLP           Report
  May 2008       Dooney &                          Southern                              Mintz         Regarding
                 Bourke, Inc.                      District Of                           Levin, LLP    Trademark
                                                   New York                              Sheppard      Infringement
                                                                                         Mullin, LLP   And Dilution
                                                                                                       Damages
  April 2006     Aronchick /         0712          Court Of        Settled   Patent      White &       Expert
  – October      Inkine v. Wolf                    Common                    Value       Williams      Report &
  2007           Block, et al.                     Pleas,                                              Rebuttal
                                                                             Licensing
                                                   Philadelphia                                        Report Re:
                                                   County, PA                Customs                   Customs
                                                                             &                         And
                                                                             Practices                 Practices /
                                                                                                       Economic
                                                                                                       Damages -
                                                                                                       Lost Patent
                                                                                                       Royalties
                                                                                                       due to
                                                                                                       malpractice
  November       A. Flores And       06-00135      U.S. District   Closed    Trade-      Notzon &      Expert
  2007           P. Wong v. ASI                    Court,                    mark        Maddox        Trademark
                 Computer                          Southern                                            Valuation
                 Technologies,                     District Of               Contract                  Report
                 Inc.                              Texas
  October –      Verizon, Inc.       07-1732       U.S. District   Settled   Trade-      Quinn         Expert
  November       and Verizon                       Court,                    mark        Emmanuel      Rebuttal
  2007           Wireless, Inc. v.                 Central                                             Report of
                 Oversee.net, et                   District Of               Domain                    Intellectual
                 al.                               California                Name                      Property
                                                                                                       Damages
  November       Gerd Petrik v.      Arbitration   Int. C. of C. - Closed    Trade-      Pestalozzi    Expert
  2007 –         Abbott                            International             mark        Lachenal      Trademark
  January        Laboratories                      Court Of                              Patry         Valuation
  2009           and Abbott                        Arbitration               Contract    (Switzer-     Report
                 GmbH & Co. KG                     Paris,                                land)
                                                   France




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     Date
                      Parties          Case No.         Court       Status     Nature      Hired by     Involvement
    Range
  February       Big Fish             C07-0718      US District    Settled    Trade       Perkins       Consulting
  – March        Games, Inc. v.       Jcc           Court,                    Secrets     Coie, LLP     Re:
  2008           IWin, Inc., et al.                 Western                                             Valuation Of
                                                    District Of                                         Trade
                                                    Washington                                          Secret
                                                                                                        Misap-
                                                                                                        propriation
  January –      Warner Bros.         4:06-Cv-      US District    Closed     Copyright   Collen IP     Expert
  2008           Entertainment.       00546         Court,                                              Report Re:
                 Inc., et al. v.                    Eastern                                             Copyright
                 Dave                               District Of                                         Damages
                 Grossman                           Missouri,                                           Assessment
                 Creations, Inc.,                   Eastern
                 et al.                             Division
  June –         Spanski              07 Civ 930    US District    Settled    Contract,   Loeb &        Expert
  2008           Enterprises,                       Court,                    Copyright   Loeb, LLP     Rebuttal
                 Inc. et al. v                      Southern                                            Report,
                 Telewizja                          District of                                         Deposition
                 Polska, S.A., et                   New York
                 al.
  July -        Rodney D. Tow,        05-39857-     US Bank-       Settled    Adversary   Munsch,       Expert
  2008          Chapter 7             H1-7          ruptcy Court              Proce-      Hardt, Kopf   Report Re:
                Trustee For                         Southern                  eding –     & Harr,       Intellectual
                Cyrus II, L.P.,       Adv. Pro.     District Of               Use of      P.C.          Property
                Et Al. v.             NO. 07-                                 Estate
                                                    Texas                                               Investment
                Schumann              03301                                   Funds                     Valuation
                Rafizadeh, et al.
  October,      The OCUC of           04-30799     US             Settled    Adversary    Pachulski,    Expert
  2008          Adamson                            Bankruptcy                Proce-       Stang,        Report Re:
                Apparel, Inc.,                     Court, Central            eding        Ziehl &       Trademark
                                                   District,                              Jones LLP     License
                V.                                 California                                           Valuation
                Aris Industries,
                Inc., Et Al
  March -       Société Des           07- CV -     US District     Closed    Trademark    Quinn         Expert
  2009          Bains De Mer Et       4802         Court ,                   Infringe-    Emmanuel      Report Re:
                Du Cercle Des                      Southern                  ment                       Trademark
                Etrangers à                        District of                                          Infringement
                Monaco vs.                         New York                                             and Cyber-
                PlayShare Plc,                                                                          squatting
                Grand Monaco                                                                            Damages
                Ltd., Gamshare
                (UK) Ltd., Lucan
                Toh, Maxwell
                Wright, Hillstead,
                Ltd.
  April -       Shipson, LLC          BC386316     Superior        Closed    Contract     Mark V.       Expert
  2009          and Victor                         Court Of The                           Asourian,     Declaration:
                Dahan vs. Joe’s                    State Of                               Esq. APC      Customer
                Jeans, Inc., et al.                California                                           Database
                                                   (Los Angeles                                         Value
                                                   County)




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     Date
                      Parties          Case No.        Court       Status       Nature        Hired by    Involvement
    Range
  April –       Woody Allen v.        08 CV -     United States     Settled    Rights of     Loeb &       Expert
  2009          American              3179        District Court               Publicity,    Loeb, LLP    Report on
                Apparel, Inc.                                                  False                      Damages
                                                  Southern                     Endorse-
                                                  District of                  ment
                                                  New York
  April –       Ironwood              07 CV -     United States     Closed    Trademark      Harris       Expert
  2009          Capital Ltd v.        1624        District Court              Infringe-      Beach,       Report on
                Ironwood Capital                                              ment,          PLLC         Damages
                Management, et                    District of                 False
                al.                               Connecticut                 Endorse-
                                                                              ment

  May -         Korea Radio           07-7418     United States Closed        Trademark      Karacter     Declaration
  2009          USA, Inc. d/b/a       ODW         District Court              & Contract     Law and      on
                RADIO KOREA,                                                                 Jay Hong,    trademark
                vs.                               Central                                    Esq.         infringement
                                                  District of                                             damages.
                NY METRO                          California
                RADIO KOREA,
                Inc. d/b/a NY
                RADIO KOREA,
                et al.
  July -        Curtis J. Jackson     08-06545    United States Settled       Rights of      Patterson    Expert
  2009          III, p/k/a 50 Cent,   NRB         District Court              Publicity,     Belknap      Rebuttal
                v. Taco Bell                                                  False          Webb &       Report and
                Corp.                             Southern                    Endorse-       Tyler, LLP   Opinion on
                                                  District of                 ment                        Damages
                                                  New York
  August -      Gen. C.E.        07-02517         United States Closed        Rights of     Mennemeier    Expert
  2009          Yeager v.        FCD GGH          District Court              Publicity,    Glassman &    Rebuttal
                Cingular                                                      False         Stroud LLP    Report and
                Wireless LLC, et                  Eastern                     Endorse-                    Opinion on
                al                                District of                 ment                        Damages
                                                  California
  April -       Credit Solutions No. 33-145- American              Closed     Unfair      Karla           Damages
  2010          LLC v. KVIS LLC 00373-09     Arbitration                      Competi-    Gonzalez-       Expert
                                             Association –                    tion Claims Acosta, Esq.    Report,
                                             (St. Peters-                     and trade                   Deposition
                                             burgh, Fla.)                     secret                      and
                                                                              misappro-                   Arbitration
                                                                              priation                    Testimony
  December In Re: McConnell           07D005483   Superior         Closed     Value of      Hughes &      Patent Value
  – 2010   and Gregg                              Court of the                Estate        Sullivan,     Court
                                                  State of                    Assets        PPC           Testimony
                                                  California –
                                                  County of
                                                  Orange
  November      Miller                10-CV-   United States Settled          Trademark      Quinn        Expert
  2010 –        International, Inc.   01167WDM District Court                 Infringe-      Emmanuel     report on
  March         v. Clinch Gear,                for the District               ment                        likelihood of
  2011          Inc., et al.                   Of Colorado                                                trademark
                                                                                                          confusion




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     Date
                      Parties         Case No.         Court       Status     Nature       Hired by    Involvement
    Range
  June –        Gen. C.E.             10-CV-2055 United States Closed       Rights of     Wilson       Expert
  Nov 2011      Yeager v. Aviat                  District Court             Publicity,    Elser        Rebuttal
                Aircraft inc. & S.                                          False         Moskowitz    Report and
                Horne                            Eastern                    Endorse-      Edelman &    Opinion on
                                                 District of                ment          Dicker LLP   Damages
                                                 California
  June 2011 Hebrew                    10-CV-3790 United States Closed       Rights of     Arent Fox    Expert
            University of                        District Court             Publicity,                 Damages
            Jerusalem v.                                                    False                      Report,
            General Motors                       Central                    Endorse-                   Deposition
            LLC                                  District of                ment
                                                 California
  June 2011 Laserfiche v.             10-CV-7843 United States Settled      Trademark     Law          Expert
  – Sept.   SAP AG, et al.                       District Court             Infringe-     Offices of   Damages
  2011                                                                      ment.         R. Weiss,    Report –
                                                 Central                                  Buchwalter   Rebuttal,
                                                 District of                              Nemer,&      Deposition
                                                 California                               MaceikoIP
  May – July Yellow Pages             10-CV-00436 United States Closed      Copyrights    David M.     Expert
  2011       Photos, Inc. v.                      District Court            Advertising   Snyder, PA   Damages
             User-Friendly                                                                             Rebuttal
             Phone Book,                         Middle District                                       Report
             LLC, et al.                         of Florida

  February      The Int’l. Aloe       11-CV-2255 United States Settled      Trademark     Kane         Expert
  2012          Science Council                  District Court             Infringe-     Kessler,     Rebuttal
                Inc. V. Fruit of                                            ment.         P.C.         Report on
                the Earth, Inc.                   District of                                          Damages,
                                                  Maryland                                             Depositions
  March         A. Fraley, et al v.   11-CV-1726 United States Settled      Rights of     The Arns     Expert
  2012          Facebook, Inc.                   District Court             Publicity     Law Firm     Declarations
                                                                                                       in Support of
                                                  Northern                  Class                      Motion for
                                                  District of               Action                     Class
                                                  California                                           Certification,
                                                                                                       Value of
                                                                                                       Injunctive
                                                                                                       Relief,
                                                                                                       Deposition
  April –       Estate of             11-CV-0584 United States Settled      Rights of     Katten       Expert
  May 2012      Michael                          District Court             Publicity     Muchin       Damages
                Jackson, et al,                                                           Resenman     Report
                v. Howard Mann,                   Central
                et al.                            District of                             Kinsella
                                                  California                              Weitzman
                                                                                          Iser Kump
                                                                                          & Aldisert
  June –        Bruce Lee             10-CV-2333 United States Settled      Rights of     Melissa W.   Expert
  July 2012     Enterprises v.                   District Court             Publicity     Woo-Allen    Damages
                A.V.E.L.A., Inc.                                                                       Rebuttal
                Urban                             Southern                                             Report
                Outfitters, Inc.,                 District of
                Target                            New York
                Corporation,
                and Leo
                Valencia




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                      Parties         Case No.        Court       Status       Nature       Hired by      Involvement
   Range
  Aug –         Essy                 11-CV-568   United States Settled       Copyright /   Seyfarth       Damages
  Sept 2012     Ghavamedinni v.                  District Court              Rights of     Shaw LLP       Expert
                AEG Facilities,                                              Publicity                    Consulting
                et al.                           Southern
                                                 District of
                                                 California
  Aug           J.A. Fry/Fox         11–1329     United States Settled       Copyright     Hamilton &     Damages
  2012–         Network              BTM         District Court                            McInnis        Expert
                Systems vs                                                                                Report
                Aztec Doberman                   Southern
                Pinscher Club of                 District of
                San Diego                        California

  Oct – Dec     Rock and Roll        09-cv-      United States     Settled    Trade-       The Taillieu   Likelihood of
  2012          Religion, Inc.       05258       District Court               mark         Law Firm       Confusion
                and Defiance                                                                              Expert
                USA Inc. vs                      Central                                                  Report
                CELS                             District of
                Enterprises, Inc.                California
                and R.Goldman
  Nov – Dec BSH Home                 12-cv-11590 United States Settled       Rights of     Miller         Expert
  2012      Appliances                           District Court              Publicity     Barondess,     Damages
            Corp. v. The                                                                   LLP            Report
            Julia Child                          District of
            Foundation for                       Massachu–
            Gastronomy and                       setts
            the Culinary Arts
  June-July     ITC Textiles v.      12-02975    United States Settled       Copyright     Ezra           Expert
  2013          JC Penney &                      District Court                            Brutzkus       Damages
                Bluprint                                                                   Gubner         Report
                                                 Central                                   LLP
                                                 District of
                                                 California
  July-         Raul Lizalde,        10-0834     United States Settled       Copyright     Ward &         Preliminary
  August        VEBS Inc. v.                     District Court                            Hagen LLP      Expert
  2013          Advanced                                                                                  Damages
                Planning                         Southern                                                 Report
                Services, Inc., et               District of
                al.                              California

  August        Jude Law v.          SC120354    Superior      Closed        Rights of     Wilson         Preliminary
  2013          Paloform Inc.                    Court of the                Publicity     Elser          Expert
                                                 State of                                  Moskowitz      Damages
                                                 California                                Edelman &      Report,
                                                 (Los Angeles)                             Dicker LLP     Arbitration
  September     Scidera, Inc. v.     AAA 16-    American          Closed     Contract,     Neymaster      Expert
  -             Newsham              174-00582- Arbitration                  Database      Goode, PC      Damages
  November      Choice               12         Association                                               Rebuttal
  2013          Genetics, LLC                                                                             Report,
                                                                                                          Deposition,
                                                                                                          Arbitration
  October       Americeuticals       13-CV-283   United States Closed        Trademark     Hamrick &      Expert
  2013          et al V. Bella                   District Court              Infringe-     Evans, LLP     Damages
                Medical Products                                             ment                         Report
                et al                            Central
                                                 District of
                                                 California




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                      Parties       Case No.         Court       Status     Nature      Hired by     Involvement
    Range
  November      Imagenetix, Inc.   12-CV-       United States Closed      Breach of    Duane         Expert
  2013          v. Frutarom        02823        District Court            License/     Morris LLP    Rebuttal
                USA, Inc.                                                 Contract                   Report on
                                                Southern                                             Damages
                                                District of
                                                California
  December      Soft Serve, Inc.   13-CV-       U.S. District   Settled   Trademark    Wiley Rein    Expert
  2013          d/b/a/             01782        Court for the             Infringe-    LLP           Damages
                SPRINKLES                       District of               ment                       Report
                v. Sprinkles                    Columbia
                Cupcakes, LLC
  February      Lambert Corp.      13-CV-0778 United States Settled       Copyright    Ezra          Expert
  2014          v.                            District Court              &            Brutzkus      Damages
                LBJC, Inc.et al.                                          Trademark    Gubner        Report,
                                                Central                   Infringe-    LLP           Deposition
                                                District of               ment
                                                California
  April 2014    S. Mattocks v.     13-CV-       United States Closed      Intangible   Tripp Scott   Declaration,
                Black              61582        District Court            Asset        PA            Expert
                Entertainment                                             Fair                       Damages
                Television LLC                  Southern                  Market                     Report,
                                                District of               Value                      Deposition
                                                Florida
 June- July     AVELA, Inc. v.     12-CV-4828   United States Pending      Trade-      Technology    Rebuttal
 2014           The Estate of                   District Court             mark        Litigation    Expert
                Marilyn Monroe,                                            Infringe-   Center        Damages
                LLC                             Southern                   ment                      Report
                                                District of
                                                New York
 July – Aug.    Tierra             13-cv-47     United States Settled      Patent      Ferraiuoli,   Expert
 2014           Intelectual                     District Court             Infringe-   LLC           Damages
                Borinquen, Inc.                                            ment                      Report,
                v.                              Eastern                                              Deposition
                Toshiba                         District of
                Corporation.                    Texas
 Aug. 2014      S. Abu-Lughod      13-cv-2792   United States Pending      Contract,   Kalbian       Expert
                v. S. Calis,                    District Court             Software    Hagerty       Rebuttal
                Tocali, Inc.,                                              IP value    LLP           Reports,
                ASCII Media,                    Central                                              Depositions
                Inc., et al.                    District of
                                                California
 Feb – Mar      S. Nerayoff vs.    203157-      Supreme      Pending       Value of    Baker &       Expert
 2015           L. Rokhsar         2012         Court Of The               Patent      Hostetler     Declaration
                                                State Of New               Assets      LLP           on Patent
                                                York                                                 Value,
                                                                                                     Trial
                                                                                                     testimony
 Jan. - May     In Re Google,      12-cv-1382   United States Pending      Breach of   Grant &       Expert
 2015           Inc., Privacy                   District Court             Contract    Eisenhofer    Report on
                Policy                                                     Class       P.A.          Privacy
                Litigation.                     Northern                   Action                    Damages,
                                                District of                                          Deposition
                                                California




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                      Parties      Case No.         Court     Status     Nature     Hired by    Involvement
   Range
 March –        We Rock The       14-cv-3888   United States Settled   Trademark   Ezra         Expert
 April 2015     Spectrum Kid’s                 District Court          Infringe-   Brutzkus     Damages
                Gym LLC vs.                                            ment        Gubner       Report
                KidZone LLC et                 Central                             LLP
                al                             District of
                                               California
 May 2015       FPAP LLC et al 15-cv-01847 United States Pending Copyright         Rome &       Expert
                vs. Fabian Perez,          District Court        Infringe-         Assoc.       Damages
                DeMontfort Fine                                  ment,             APC          Report
                Art Ltd., et al.           Central               Breach of
                                           District of           Contract
                                           California
 June 2015      Bausch & Lomb     09-cv-6041   United States Pending Breach of     Napoli       Expert
                Inc.                           District Court        Contract,     Bern Ripka   Damages
                v.                                                   Patent        Shkolnik,    Report
                Faezeh Mona                    Western                             LLP
                Sarfarazi, M.D.                District of
                                               New York




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